

People v Leonide (2020 NY Slip Op 06365)





People v Leonide


2020 NY Slip Op 06365


Decided on November 05, 2020


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 05, 2020

Before: Gische, J.P., Webber, González, Scarpulla, JJ. 


Ind No. 1665/13 Appeal No. 12265 Case No. 2018-2415 

[*1]The People of the State of New York, Respondent,
vEdward Leonide, Defendant-Appellant.


Janet E. Sabel, The Legal Aid Society, New York (Ronald Alfano of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Claire E. Nielsen of counsel), for respondent.



Order of the Supreme Court, New York County (Michael J. Obus, J.), entered on or about April 27, 2018, which adjudicated defendant a level two sexually violent offender pursuant to the Sex Offender Registration Act (Correction Law art 6-C), unanimously affirmed, without costs.
The record supports the court's assessment of points based on its finding that defendant and the victim were strangers for purposes of risk assessment (see People v Postelli, 136 AD3d 514 [1st Dept 2016], lv denied 27 NY3d 907 [2016]). The court also providently exercised its discretion in imposing an upward departure (see People v Gillotti, 23 NY3d 841 [2014]). Clear and convincing evidence demonstrated that, had the police not intervened, defendant would have completed the rape of the victim which would have rendered defendant a presumptive level two offender (see People v Robinson, 150 AD3d 775 [2d Dept 2017], lv denied 29 NY3d 1143 [2017]). Finally, the court also found the circumstances of the attempted rape to be particularly egregious.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 5, 2020








